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   1     to the best of my knowledge it would?

   2     A.         I don't recall responding to that, but

   3     if that's what my deposition says.
   4     Q.         Have any of the chemicals that you had

   5     on hand at the time of your deposition
   6     expired?

   7     A.         Yes.
   8     Q.         Which of the chemicals that you had on
   9     hand have expired?

 10      A.         The Midazolam.

 11      Q.         Is that chemical still there at

 12      Riverbend?
 13      A.         It is.

 14                        MR. DEL PINO:           If I could ask,

 15      please, for the Warden to be handed

 16      Plaintiffs' Exhibit 2.

 17                        MR. SUTHERLAND:            Your Honor, I'm

 18      going to object to the line of questioning
 19      regarding expiration of drugs.                    The protocol
 20      on its face calls for certain drugs.                       It
 21      doesn't envision, like many things, doesn't
 22      envision the use of expired drugs.

 23                        So getting into whether a drug

 24      that is on hand might be expired really has

 25      no relevance to the facial challenge


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   1      challenging the use of drugs that would be
   2      properly used.
   3                         THE COURT:         Is that not implicit?
   4      If it refers to drugs, we're assuming they're
   5      not expired?
   6                         MR. SUTHERLAND:            We're assuming
   7      they're not expired.               So we're talking about
   8      whether drugs that might be expired or not at
   9      a certain time isn't relevant to the facial
  10      challenge.
  11                         THE COURT:         I didn't make myself
  12      clear.      Let me start over.              You know the
  13      subject matter very well.
  14                        The protocol speaks in terms of
  15      certain drugs on its face.                  When it says a
  16     certain drug, the assumption, of course, is
  17      that it's efficacious, not expired?
  18                        MR. SUTHERLAND:            Yes, ma'am.
  19                        THE COURT:         Therefore, it's
  20     appropriate to ask factually whether they
  21     have those on hand, because that would be
  22     compliant with the protocol they're not
  23     expired.        If they are expired, it would not
  24     be compliant with the protocol.                      So it's a
 25      factual question.

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   1                         MR. SUTHERLAND:            I think our
   2      argument would be whether they were expired
   3      on a given day the protocol assumes that the
   4      use of unexpired drugs on the date of the
   5      execution and the presence of an expired drug
   6      on a given day is irrelevant to a facial
   7      challenge.
   8                         THE COURT:         All right.         And the
   9      Court, either I didn't understand the
  10      argument or it's been switched up a little
  11     bit.      The Court overrules that objection.                           It
  12     does provide me information about that.                            It
  13      is probative.           So the Court overrules.                 Thank
  14     you.
  15                         MR. SUTHERLAND:            Thank you.
  16                         MR. DEL PINO:           Chancellor, in
  17      light of Defendants' counsel's objection --
  18     BY MR. DEL PINO:
  19     Q.          Warden Mays, if you still have that
  20     January, 2018, protocol or manual in front of
  21     you, I would ask you, please, sir, to turn to
 22      Page 37.
 23                          THE COURT:         For the record, this
 24      is trial Exhibit 1.
 25                          MR. DEL PINO:           Yes, Your Honor.

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   1      BY MR. DEL PINO:

   2      Q.        Do you see that page, sir?

   3     A.          I do.

   4      Q.         Paragraph 3 at the bottom of the page,

   5      "The chemicals on hand are monitored for
   6      expiration dates.            All of the chemical boxes

   7     and bottles have an expiration date.                        And all
   8      chemicals are in tamper-proof bottles or
   9      containers.         As the chemicals reach their

  10     expiration dates, they are disposed of by
  11     hazardous waste pick up."

  12                Did I read that paragraph correctly,

  13     Warden?

  14     A.         You did.

  15     Q.         And did you just testify, Warden, that
  16     the expired chemical is still there at

  17     Riverbend?

  18     A.          I did.
  19     Q.         And, Warden, is that then in violation
  20     or contradiction of the January, 2018,
  21     protocol?
  22     A.         I haven't gotten around to do a

  23     disposal of them yet.

 24      Q.         But that is what the protocol calls

  25     for,    isn't it?


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   1     A.          It is.

   2     Q.         And that's not happened yet; is that

   3     correct?
   4     A.          It's not.

   5     Q.          Thank you, sir.           Now, if I could ask

   6     you, please, sir, to take a look at

   7     Plaintiffs' Exhibit 2.                 I'll ask you, sir, if
   8     you recognize that document?

   9     A.          I do.
  10     Q.         What do you recognize that document to

  11     be, Warden?

  12     A.          Lethal injection execution manual.

  13     Q.         And you said earlier that you had seen

  14     lethal injection execution manuals for
  15     several years and indicated that they updated
  16     from time to time.

  17                 Can you tell when that execution

  18     manual, lethal injection execution manual,
  19     was updated?
  20     A.          July 5th, 2018.
  21     Q.         Okay, sir.         When's the first time that
  22     you saw that document, sir?

  23     A.         About a week to a week and a half ago.

  24     Q.         About a week to a week and a half ago.

  25     So that would be around July the 3rd?


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